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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WISCONSIN


JULIE A. SU,                            )
Acting Secretary of Labor,              )
United States Department of Labor,      )      CIVIL ACTION NO. 23-CV-513
                                        )
             Plaintiff,                 )
                                        )      District Judge
             v.                         )
                                        )
UMR, INC.,                              )      Magistrate Judge
                                        )
             Defendant.                 )


                                    COMPLAINT

      JULIE A. SU, Acting Secretary of the United States Department of Labor

(the “Secretary”), alleges:

      1.     The Secretary is charged with enforcing the provisions of Title I of the

Employee Retirement Income Security Act of 1974 (“ERISA”), as amended, 29

U.S.C. § 1001, et seq., which establishes, among other things, standards of conduct,

responsibility, and obligations for fiduciaries of employee benefit plans.

      2.     ERISA requires those who administer ERISA-covered plans act solely,

exclusively, and prudently in the interests of plan participants. ERISA

§ 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).

      3.     This action is filed under ERISA, against UMR, Inc. (“UMR”), for

UMR’s violations of ERISA in connection with its administering of hospital

emergency services claims (“ER Claims”) and urinary drug screening claims (“UDS
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Claims”), and the associated adverse benefit determinations denying emergency

services and UDS Claims for thousands of participants.

      4.      UMR’s procedures for adjudicating claims arising out of services

provided in hospital emergency rooms did not comply with the “prudent layperson”

standard established under The Patient Protection and Affordable Care Act, 42

U.S.C. § 18001 et seq. (“ACA”), which is incorporated in ERISA and the terms of the

ERISA plans UMR administers.

      5.      Specifically, UMR violated ERISA, including ERISA’s prudence

provisions and requirement to follow plan documents under ERISA § 404, 29 U.S.C.

§ 1104, by denying ER Claims based solely on diagnosis codes and not applying a

prudent layperson standard. UMR’s explanation of benefits for denied emergency

services claims also failed to comply with the requirements of the ACA and the U.S.

Department of Labor’s (“Department’s”) claims procedures regulation at 29 C.F.R §

2560.503-1.

      6.      UMR’s procedures for adjudicating UDS claims resulted in it denying

all UDS Claims, in violation of plan documents and ERISA’s prudence provisions

under ERISA § 404, 29 U.S.C. § 1104. UMR was required to apply a standard of

“medical necessity” to determine whether a UDS claim was medically necessary.

Specifically, UMR violated ERISA by denying UDS Claims because it applied no

standard and simply denied all claims. For a limited time from August 26, 2018, to

present, UMR did allow some UDS Claims to be paid if the drug screening was done

in an emergency setting. Starting on October 11, 2019, UMR changed its practice



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again by switching the denial code for UDS Claims from 914 (lack of medical

necessity) to 515 (a denial requesting more medical records from the provider).

UMR’s explanation of benefits for denied UDS Claims also failed to comply with the

requirements of the ACA and the Department’s claims procedures regulation at 29

C.F.R § 2560.503-1.

      7.     When ERISA’s strict fiduciary standards are not met, the Secretary

has the authority to seek relief under ERISA §§ 409 and 502(a)(2) and (5), 29 U.S.C.

§§ 1109 and 1132(a)(2) and (5), to obtain other remedial and equitable relief. The

Secretary may also seek to enjoin a breaching fiduciary from acting as a fiduciary or

service provider to employee benefit plans in the future or for the fiduciary to

reform its practices to comply with ERISA.

                          JURISDICTION AND VENUE

      8.     This action arises under Title I of ERISA and is brought by the

Secretary under ERISA § 502(a)(2) and (5), 29 U.S.C. § 1132(a)(2) and (5), to enjoin

acts and practices that violate the provisions of Title I of ERISA, to obtain

appropriate remedial and equitable relief for breaches of fiduciary duty under

ERISA § 409, 29 U.S.C. § 1109, and to obtain such further equitable relief as may be

appropriate to redress violations and to enforce the provisions of Title I of ERISA.

      9.     This Court has subject matter jurisdiction over this action pursuant to

ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1).

      10.    Venue is appropriate in the Western District of Wisconsin, pursuant to

ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), because the breaches took place in this



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district, UMR is headquartered in Wausau, Marathon County, Wisconsin, and UMR

provided the services at issue in this Complaint to at least 2,136 ERISA-covered

health plans from this location.

                                      PARTIES

      11.    The Secretary is vested with the authority to enforce the provisions of

Title I of ERISA by, among other means, the filing and prosecution of civil claims

against fiduciaries and other parties who violate ERISA. ERISA § 502(a)(2) & (5),

29 U.S.C. § 1132(a)(2) & (5).

      12.    UMR is a third-party administrator (“TPA”) providing services to at

least 2,136 self-funded employee welfare benefit plans, as defined in ERISA § 3(1),

29 U.S.C. § 1002(1), that provide medical, surgical, or hospital care or benefits to

participating employees (the “Plans”).

      13.    UnitedHealth Group, Inc. (“UnitedHealth”) is the parent company for

UMR. According to UnitedHealth, UMR is the nation’s largest TPA.

      14.    From at least January 1, 2015, to present, UMR provided, and

continues to provide, services to the Plans that includes the following: (1) network

access, management, and administration; (2) claim recovery services and

subrogation; (3) fraud and abuse management; (4) processing initial benefit

determinations; (5) processing first and second level internal appeals; (6)

determining whether claims would be paid; and (7) paying claims.

      15.    The Plans contract directly with UMR.




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      16.    The Plans’ healthcare benefits are funded directly from the assets of

the Plan or the employer; they are not funded through insurance policies.

      17.    The Plans entered into service agreements with UMR called

Administrative Service Agreements (“ASAs”).

      18.    In some of the ASAs, the Plans appointed UMR as:

             named fiduciary under the Plan with respect to (i)
             performing initial benefit determinations and payment, (ii)
             performing the fair and impartial review of first level
             internal appeals and (iii) performing the fair and impartial
             review of second level internal appeals (if applicable). As
             such, Customer delegates to UMR the discretionary
             authority to (i) construe and interpret the terms of the
             Plan, (ii) to determine the validity of charges submitted to
             UMR under the Plan, and (iii) make final, binding
             determinations concerning the availability of Plan benefits
             under the Plan’s internal appeal process, all in compliance
             with federal law and regulation.

      19.    From January 1, 2015, to the present, for Plans with the appointment

of UMR as described in paragraph 18 above, UMR was a named fiduciary with

respect to those enumerated duties in the ASA.

      20.    In other ASAs, the Plans appointed UMR as a named fiduciary for the

limited purpose of deciding adverse benefit determinations. Those ASAs state,

“UMR is not and shall not be deemed to be a fiduciary with respect to the Plan,

except to the extent that it is deciding an appeal of an Adverse Benefit

Determination.”

      21.    From January 1, 2015, to the present, UMR adjudicated claims,

including ER Claims and UDS Claims. Adjudicating claims included processing




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initial benefit determinations; processing first and second level internal appeals;

and determining whether claims would be paid.

      22.    As a result of the actions identified in paragraph 21 above from

January 1, 2015, to the present, UMR exercised authority and control respecting

management or disposition of the assets of the Plans, exercised discretionary

authority or discretionary control over the management of the Plans, and/or had

discretionary authority or discretionary responsibility in the administration of the

Plans, and thus, is a fiduciary of the Plans pursuant to ERISA § 3(21)(A)(i) and (iii),

29 U.S.C. § 1002(21)(A)(i) and (iii), regardless of the specific language a given Plan’s

ASA uses to describe UMR.

      23.    From January 1, 2015, to the present, UMR was a party in interest

under ERISA § 3(14)(A) and (B), 29 U.S.C. § 1002(14)(A) and (B), because it was a

fiduciary under ERISA as identified in paragraph 22 above, and because it provided

services to the Plans, which are subject to ERISA.

                                    COUNT ONE

                    UMR improperly adjudicated ER Claims

      24.    Paragraphs 1-23 are incorporated by reference.

      25.    UMR provides management and administration to the Plans by

receiving, processing, and adjudicating healthcare claims for services provided by

healthcare providers, including doctors, urgent care facilities, and hospitals.

      26.    The plan documents for the Plans define “Emergency Services” and

“Emergency Room” as covered benefits.



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           27.   The plan documents for the Plans have Exclusions sections, but

Emergency Services and Emergency Rooms are not identified as exclusions, and

there are no exclusions relating to ER Claims.

           28.   The plan documents for the Plans directly incorporate and define a

“prudent layperson standard” for the review of ER Claims.

           29.   UMR receives, processes, and adjudicates ER Claims for Plans.

           30.   Of the ERISA-covered, self-funded employee welfare benefit plans

identified in paragraph 11 above, UMR utilized a “True Emergency” policy for

approximately 371 of these Plans (the “Diagnosis Code List Plans”) and adjudicated

ER Claims by using one of two diagnosis code lists: True ER (T10 Coding) (the “T10

List”) or Sudden and Severe (T11 Coding) (the “T11 List”).

           31.   UMR had exclusive control over the T10 and T11 Lists. The Diagnosis

Code List Plans do not see the T10 or T11 List or have any role in the creation,

additions, or deletions to codes on those lists. The Plans have no role in how UMR

uses those lists when adjudicating ER Claims.

           32.   UMR adjudicates ER Claims for most of the Diagnosis Code List

Plans 1 by first comparing the diagnosis codes identified by the providers to the
      0F




applicable T10 or T11 List.

           33.   If an ER Claim is submitted and it does not have at least one diagnosis

code that is on the applicable T10 or T11 List, UMR denies the claim. If at least one

diagnosis code is on the list, UMR adjudicates the claim as payable. UMR considers


1 A few Plans used a custom list instead of the True ER or Sudden and Severe list. Those

Plans are not subject to this complaint as it relates to ER Claims.
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no additional information and conducts no further analysis or review of the claim

before the initial denial.

       34.    When UMR denies a claim because it does not have at least one

diagnosis code that is on the applicable T10 or T11 List, UMR sends the affected

claimant an Explanation of Benefits (“EOB”) that has very limited information.

       35.    The EOBs simply include one of two denial codes: (1) “200 Charge(s)

denied. The plan excludes benefits for this treatment. Refer to Covered Benefits and

Exclusions in your Benefit Booklet,” or (2) “947 Charge(s) denied. This service is

excluded by your health plan. Refer to General Exclusions in your Benefit Booklet.”

       36.    The EOBs for denied ER Claims do not reference the specific plan

provisions or specific rule on which the determination was based.

       37.    The EOBs for denied ER Claims do not reference the prudent

layperson standard, which is the standard or rule that applies under the plan

documents for the review of ER Claims for the Plans.

       38.    The EOBs for denied ER Claims do not indicate if the claim was denied

due to a lack of proper documentation to demonstrate an emergency medical

condition.

       39.    The EOBs for denied ER Claims do not provide a description of

additional information necessary for the claimant to perfect the claim or an

explanation on why such material or information is necessary.

       40.    When UMR denies an ER Claim, UMR permits claimants to make an

informal appeal to challenge the denial by calling UMR and speaking to a customer



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service representative. UMR does not inform participants of the informal appeal

process.

      41.    When UMR denies an ER Claim, UMR also permits claimants to file a

written formal appeal to challenge the denial.

      42.    Upon receiving an informal or formal appeal, UMR alone:

             a. considers additional information from the participant or provider;

             b. adjudicates the appeal; and

             c. decides whether to grant or deny the appeal.

      43.    At the time UMR initially adjudicated ER Claims based on the

T10 and T11 Lists, UMR failed to consider what a person with average

knowledge of health and medicine would think at the time the symptoms

present themselves.

      44.    UMR relied solely on a medical provider’s diagnosis at the end of

treatment to deny ER Claims.

      45.    The ACA amended ERISA to make the market reform provisions of

Title XXVII of the Public Health Service Act, 42 U.S.C. §§ 300gg et seq., applicable

to group health plans. ERISA § 715(a)(1), 29 U.S.C. § 1185d.

      46.    Since at least 2011, the prudent layperson standard has been the

required level of review for ERISA plans covering hospital emergency services. 42

U.S.C. § 300gg-19a(b)(2)(A) and (B). Section 2719A of the Public Health Service Act

defines “emergency services” as certain services within the capability of a hospital




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emergency department to evaluate and treat as an emergency medical condition. 42

U.S.C. § 300gg-19a(b)(2)(B).

       47.    The definition of prudent layperson comes from the ACA’s definition of

“emergency medical condition,” which states:

              [A] medical condition manifesting itself by acute symptoms
              of sufficient severity (including severe pain) such that a
              prudent layperson, who possesses an average knowledge of
              health and medicine, could reasonably expect the absence
              of immediate medical attention to result in a condition . . .

                     (i) placing the health of the individual (or, with
                     respect to a pregnant woman, the health of the
                     woman or her unborn child) in serious jeopardy;
                     (ii) serious impairment to bodily functions; or
                     (iii) serious dysfunction of any bodily organ or part .
                     ...

42 U.S.C. § 300gg-19a(b)(2)(A) (emphasis added) (citing 42 U.S.C. §

1395dd(e)(1)(A)(i)-(iii)).

       48.    The claims procedures regulation requires, among other things, that

ERISA plans have reasonable claims procedures for the filing of claims, notification

of benefit determinations, and appeal of adverse benefit determinations. It also

prohibits unduly inhibiting or hampering the initiation or processing of claims. 29

C.F.R. § 2560.503-1(b) and (b)(3).

       49.    The claims procedures regulation further requires that when

participants receive adverse benefit determinations, participants must be provided

with, among other things: the specific reasons for the adverse benefit

determination; the specific plan provisions on which the determination is based; a

description of any additional material or information necessary for the claimant to


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perfect the claim; an explanation of why such material or information is necessary;

and a description of the plan’s review procedures and the time limits applicable to

such procedures. 29 C.F.R. § 2560.503-1(g)(1).

      50.    The claims procedures regulation also requires that adverse benefit

determinations by a group health plan provide, if an internal rule, guideline,

protocol, or other similar criterion was relied upon in making the adverse

determination, either the specific rule, guideline, protocol, or other similar criterion;

or a statement that such a rule, guideline, protocol, or other similar criterion was

relied upon in making the adverse determination and that a copy of such rule,

guideline, protocol, or other criterion will be provided free of charge to the claimant

upon request. 29 C.F.R. § 2560.503-1(g)(1)(v).

      51.    By the conduct described in paragraphs 24 through 50 above, UMR:

             a.     violated the prudence provisions of ERISA § 404(a)(1)(B), 29

      U.S.C. § 1104(a)(1)(B);

             b.     violated the adherence to plan documents provisions of ERISA §

      404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D);

             c.     failed to ensure the application of the prudent layperson

      standard for ER Claims adjudication, thereby failing to administer the

      Diagnosis Code List Plans in full compliance with ERISA § 715, 29 U.S.C.

      §1185d, incorporating Public Health Service Act § 2719A(b)(2)(A), 42 U.S.C. §

      300gg-19a(b)(2)(A), and failed to establish and maintain reasonable claims




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      procedures in full compliance with the claims procedures regulation, 29

      C.F.R. § 2560.503-1, as modified by 29 C.F.R. § 2590.715-2719(b);

            d.     failed to provide to participants and beneficiaries whose claims

      for benefits had been denied adequate notice in writing setting forth the

      specific reasons for such a denial and the appeal’s process, thereby failing to

      administer the Diagnosis Code List Plans in full compliance with ERISA §

      503, 29 U.S.C. § 1133, and the claims procedures regulation, 29 C.F.R. §

      2560.503-1, as modified by 29 C.F.R. § 2590.715-2719(b).

                                   COUNT TWO

                   UMR improperly adjudicated UDS Claims

      52.   Paragraphs 1-23 are incorporated by reference.

      53.   UMR receives, processes, and adjudicates UDS Claims for the Plans.

      54.   The plan documents for the Plans identify the standard for approving

UDS Claims as those that are “Medically Necessary.”

      55.   In the plan documents for the Plans, Medically Necessary/Medical

Necessity means:

            [H]ealth care services provided for the purpose of
            preventing, evaluating, diagnosing, or treating an Illness,
            Injury, mental illness, substance use disorder, condition, or
            disease or its symptoms, that are all of the following as
            determined by us or our designee, within our sole
            discretion:

            •     In accordance with Generally Accepted Standards of
            Medical Practice; and
            •     Clinically appropriate, in terms of type, frequency,
            extent, site, and duration, and considered effective for Your



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      Illness, Injury, mental illness, substance use disorder, or
      disease or its symptoms; and
      •      Not mainly for Your convenience or that of Your
      doctor or other health care provider; and
      •      Not more costly than an alternative drug, service(s),
      or supply that is at least as likely to produce equivalent
      therapeutic or diagnostic results as to the diagnosis or
      treatment of Your Illness, Injury, disease, or symptoms.

      The fact that a Physician has performed, prescribed,
      recommended, ordered, or approved a service, treatment
      plan, supply, medicine, equipment, or facility, or that it is
      the only available procedure or treatment for a condition,
      does not, in itself, make the utilization of the service,
      treatment plan, supply, medicine, equipment, or facility
      Medically Necessary.

      Generally Accepted Standards of Medical Practice are
      standards that are based on credible scientific evidence
      published in peer-reviewed medical literature generally
      recognized by the relevant medical community, relying
      primarily on controlled clinical trials, or, if not available,
      observational studies from more than one institution that
      suggest a causal relationship between the service or
      treatment and health outcomes.

      If no credible scientific evidence is available, then
      standards that are based on Physician specialty society
      recommendations or professional standards of care may be
      considered. We reserve the right to consult expert opinion
      in determining whether health care services are Medically
      Necessary. The decision to apply Physician specialty
      society recommendations, the choice of expert, and the
      determination of when to use any such expert opinion will
      be within our sole discretion.

      UnitedHealthcare Clinical Services develops and
      maintains clinical policies that describe the Generally
      Accepted Standards of medical Practice scientific evidence,
      prevailing medical standards, and clinical guidelines
      supporting our determinations regarding specific services.
      These clinical policies (as developed by UnitedHealthcare
      Clinical Services and revised from time to time), are
      available to Covered Persons by calling UMR at the

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            telephone number on the Plan ID card, and to Physicians
            and     other   health     care    professionals     on
            UnitedHealthcareOnline.com.

      56.   UMR did not apply a Medically Necessary/Medical Necessity standard

to deny UDS Claims.

      57.   From August 2015 to August 25, 2018, UMR simply denied all UDS

Claims.

      58.   From August 26, 2018, to present, UMR denied all UDS Claims that

were not from either an emergency room or urgent care center.

      59.   UMR made the change to its UDS-denial policy in August 2018

because UMR determined 98% of UDS Claims in an emergency room setting were

overturned upon appeal.

      60.   UMR did not follow any language in the plan documents or other

direction from fiduciaries to permit UMR to deny all UDS Claims prior to August

2018, or all non-emergency UDS Claims after August 2018.

      61.   From August 22, 2015, to October 11, 2019, only the following

information was provided to participants regarding denied UDS Claims:

            Code 914: Charge(s) denied. Charges not considered
            medically necessary for coverage. See Exclusions and
            Glossary in your benefit booklet.

      62.   After October 11, 2019, UMR’s standard EOBs to deny UDS Claims

stated:

            Code 515: Additional information needed to process your
            claim has been requested from your provider. The charge(s)
            on this claim are denied and will be reconsidered if the
            information is received in a timely manner. Follow up with

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              your provider to ensure a prompt response to our request.
              Refer to Claims Procedure in your Benefit Booklet for
              additional information.

      63.     The plan documents for the Plans contain an exclusion in the

Exclusions sections for claims that are “Not Medically Necessary,” and refers to the

definition of Medically Necessary/Medical Necessity.

      64.     In addition to the requirements identified in paragraphs 48 and 49

above, the claims procedure regulation also requires that adverse benefit

determinations by a group health plan provide, if the adverse benefit determination

is based on a medical necessity, either an explanation of the scientific or clinical

judgment for the determination, applying the terms of the plan to the claimant’s

medical circumstances, or a statement that such explanation will be provided free of

charge upon request. 29 C.F.R. § 2560.503-1(g)(1)(v).

      65.     The EOBs for UDS Claim denials failed to provide the specific reason

for adverse benefit determination, other than simply stating “not medically

necessary.”

      66.     The EOBs for UDS Claim denials failed to reference to specific plan

provisions on which the adverse benefit determination was based.

      67.     The EOBs for UDS Claim denials failed to provide a description of

additional materials or information necessary for claimant to perfect the claim.

      68.     The EOBs for UDS Claim denials failed to provide an explanation of

why such additional materials or information is necessary.




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      69.    The EOBs for UDS Claim denials failed to provide the internal rule,

guideline, protocol, or similar criterion relied upon being identified.

      70.    The EOBs for UDS Claim denials failed to provide a description of the

Plan’s standard used to deny the claim.

      71.    For UDS Claims, because they were allegedly denied based on

“medical necessity,” UMR failed to provide an explanation of the scientific or clinical

judgment for this determination that applies the terms of the plan or a statement

that the explanation will be provided free of charge upon request.

      72.    By the conduct described in paragraphs 52 through 71 above, UMR:

             a.     violated the prudence provisions of ERISA § 404(a)(1)(B), 29

      U.S.C. § 1104(a)(1)(B);

             b.     violated the adherence to plan documents provisions of ERISA §

      404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D);

             c.     failed to ensure the application of the Medical Necessity

      standard for UDS Claims adjudication, thereby failing to administer the

      Plans in full compliance with ERISA § 715, 29 U.S.C. §1185d, incorporating

      Public Health Service Act § 2719A(b)(2)(A), 42 U.S.C. § 300gg-19a(b)(2)(A),

      and failed to establish and maintain reasonable claims procedures in full

      compliance with the claims procedures regulation, 29 C.F.R. § 2560.503-1, as

      modified by 29 C.F.R. § 2590.715-2719(b); and

             d.     failed to provide adequate notice in writing to participants and

      beneficiaries whose claims for benefits had been denied setting forth the



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      specific reasons for such a denial and written in a manner calculated to be

      understood by the participants and beneficiaries, thereby failing to

      administer the Plans in full compliance with ERISA § 503, 29 U.S.C. § 1133,

      and the claims procedures regulation, 29 C.F.R. § 2560.503-1, as modified by

      29 C.F.R. § 2590.715-2719(b).

                              PRAYER FOR RELIEF

      WHEREFORE, the Secretary requests this Court enter an Order, pursuant

to ERISA §§ 409(a), 502(a)(2) and (5), 29 U.S.C. §§ 1109(a) and 1132(a)(2) and (5):

      A.      Requiring UMR to reform its procedures for receiving, processing, and

adjudicating ER Claims and UDS Claims to comply with ERISA;

      B.      Requiring UMR to readjudicate all ER Claims and UDS Claims that

were denied or partially denied from January 1, 2015, to present, in compliance

with ERISA;

      C.      Enjoining UMR from committing future violations of ERISA; and




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      D.    Granting such other relief as may be equitable, just, and proper.



                                      Respectfully submitted,

                                      SEEMA NANDA
                                      Solicitor of Labor

                                      CHRISTINE Z. HERI
                                      Regional Solicitor

                                      /s/ Kevin M. Wilemon
                                      KEVIN M. WILEMON
                                      Senior Trial Attorney

                                      /s/Lydia J. Faklis
                                      LYDIA FAKLIS
                                      Trial Attorney

                                      Attorneys for JULIE A. SU,
                                      Acting Secretary of Labor, United States
                                      Department of Labor, Plaintiff

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